       Case 3:05-cr-05828-RBL         Document 475        Filed 01/14/10     Page 1 of 4



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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                               Case No. CR05-5828 FDB
12           v.
                                                               ORDER DENYING MOTION TO
13    BRIANA WATERS,                                           MODIFY RESTITUTION
                                                               SCHEDULE
14
                     Defendant.
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            This matter comes before the Court on Defendant’s pro se motion to modify restitution
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     payments. The Court, having reviewed the motion, response and the remaining record, is fully
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     informed and denies the motion to modify restitution payments.
19
                                      Introduction and Background
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            On March 6, 2008, Briana Waters was found guilty on two counts of arson, both relating
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     to the 2001 arson of the Center for Urban Horticulture at the University of Washington, a crime
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     committed on behalf of the Earth Liberation Front (ELF). On June 19, 2008, this Court sentenced
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     Waters to 72 months of imprisonment. The Court also ordered Waters to pay restitution to the
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     University of Washington and the State of Washington in a total amount of $6,092,649.85.
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26   ORDER - 1
       Case 3:05-cr-05828-RBL           Document 475        Filed 01/14/10      Page 2 of 4



 1   Judgment at 5. As set forth in the Judgment, the Court ordered that Waters’ restitution was due

 2   immediately, and that unpaid amounts be paid “[d]uring the period of imprisonment, no less than

 3   25% of their inmate gross monthly income or $25.00 per quarter, whichever is greater, to be

 4   collected and disbursed in accordance with the Inmate Financial Responsibility Program.”

 5   Judgment at 6. The Judgment further provided that this was “the minimum amount that the

 6   defendant is expected to pay . . . The defendant shall pay more than the amount established

 7   whenever possible.” Id.

 8          Waters was designated to serve her sentence at FCI Danbury, Connecticut. At FCI

 9   Danbury, Waters has been employed, and her monthly earnings have increased gradually to $39.18

10   in October 2009. In addition, Waters receives $275.00 each month from unidentified friends or

11   family members. Thus, Waters currently either earns or receives a total of slightly more than

12   $300.00 per month.

13          Waters has chosen to participate in the Inmate Financial Responsibility Program (IFRP).

14   Participation in the IFRP is voluntary, but inmates who do not participate lose certain privileges.

15   Pursuant to the IFRP, the Bureau of Prisons (BOP) currently is requiring Waters to pay $100.00 per

16   month towards restitution. This amount is derived from using BOP’s standard formula. See 28

17   C.F.R. § 545.11 and BOP Program Statement 5380.08.

18          Waters’ instant request is that the restitution payments be reduced to the amount she

19   currently earns and that she be entitled to keep the amounts deposited into her account by friends

20   and/or family, rather than using any portion of these funds for restitution.

21                               Lack of Jurisdiction to Modify Restitution

22          The Court lacks jurisdiction to modify the restitution order. The Court’s authority to modify

23   a term of imprisonment is constrained by 18 U.S.C. § 3582(c), which provides in pertinent part that

24   "the court may modify an imposed term of imprisonment to the extent otherwise expressly

25   permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure." 18 U.S.C. §

26   ORDER - 2
       Case 3:05-cr-05828-RBL          Document 475         Filed 01/14/10      Page 3 of 4



 1   3582(c)(1)(B). The Court is aware of no statute that would expressly permit it to modify

 2   Defendant's restitution obligations, and Defendant has not provided any. Rule 35 applies only in

 3   very narrow circumstances and does not permit a court to simply reverse its decision about

 4   appropriate restitution. Fed. R. Civ. P. 35 permits the Court to “correct a sentence that resulted from

 5   arithmetical, technical, or other clear error” within seven days of sentencing. Fed. R. Cr. P. 35(a).

 6   This exception does not apply at this late date. Nor does Rule 35(b), which provides that the

 7   government may move for a reduction of sentence when a defendant has provided substantial

 8   assistance to the government. Fed. R. Cr. P. 35(b). See also United States v. Penna, 319 F.3d 509,

 9   512 (9th Cir. 2003).

10          A sentence that imposes an order of restitution is a final judgment notwithstanding the fact

11   that such a sentence can subsequently be corrected, appealed and modified, amended, adjusted, or

12   the defendant may be resentenced pursuant to relevant statutory provisions. 18 U.S.C. § 3664(o).

13   There exists no statute or Criminal Rule that permits the court to modify the judgment to reduce the

14   amount of restitution.

15                                 Restitution Order Valid on the Merits

16          Ms. Waters also appears to challenge the BOP’s authority to set her payment schedule and

17   to make restitution payments from her outside sources of income. This challenge to the order of

18   restitution fails in light of the Ninth Circuit’s decision in United States v. Lemoine, 546 F.3d 1042

19   (9th Cir. 2008). The Court noted in Lemoine that the BOP may obtain payments from funds earned

20   through prison employment as well as from funds received from outside sources, such as money

21   sent by relatives. 28 C.F.R. § 545.11(b). The Court in Lemoine upheld the validity of the Inmate

22   Financial Responsibility Program (IFRP). The Court held the Bureau of Prisons’ operation of the

23   IFRP does not constitute an unlawful delegation of authority to schedule restitution repayments.

24   The Court found the restitution payment schedule, not unlike Defendant Waters’ restitution

25   schedule, to be a valid restitution repayment schedule.

26   ORDER - 3
       Case 3:05-cr-05828-RBL       Document 475        Filed 01/14/10     Page 4 of 4



 1        Accordingly, Defendant’s challenge to BOP’s calculation of restitution fails.

 2                                            Conclusion

 3        For the above stated reasons,

 4        IT IS ORDERED:

 5        Defendant Waters’ Motion to Modify Restitution Schedule [Dkt. # 468] is DENIED.

 6        DATED this14th day of January, 2010.

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                                          A
                                          FRANKLIN D. BURGESS
                                          UNITED STATES DISTRICT JUDGE
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26   ORDER - 4
